                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 TRUSTEES OF THE IBEW LOCAL 7
 PENSION FUND, IBEW LOCAL 7
 ANNUITY FUND, IBEW LOCAL 7
 APPRENTICESHIP & TRAINING FUND,
 IBEW LOCAL 7 LABOR MANAGEMENT
 COOPERATION FUND, and IBEW LOCAL
 7 SUPPLEMENTAL HEALTH AND                           Civil Action No. 3:20-cv-11672
 WELFARE FUND; TRUSTEES OF THE
 NEW ENGLAND ELECTRICAL WORKERS
 BENEFIT FUND; TRUSTEES OF THE
 NATIONAL ELECTRICAL BENEFIT
 FUND; and IBEW LOCAL 7.

         Plaintiffs,

 v.

 COGHLIN ELECTRICAL CONTRACTORS,
 INC.

         Defendant.


                                    JOINT STATEMENT

       Pursuant to Local Rule 16.1 and this Court’s Scheduling Order, the Parties respectfully

submit this Joint Statement.

       This case regards employee benefit contributions owed to ERISA benefit funds and

IBEW Local 7 (collectively “the Plaintiffs”), for work performed pursuant to collective

bargaining agreements between Coghlin Electrical Contractors, Inc. (“Coghlin”) and IBEW

Local 7. The Plaintiffs have recovered amounts from third parties that have reduced the amounts

owed by Coghlin. Accordingly, the Parties are currently in settlement discussions regarding the

remaining amounts allegedly owed by Coghlin.
                             PROPOSED PRE-TRIAL SCHEDULE

         The Parties have agreed to the following proposed schedule, in the event that resolution is

 not achieved through settlement:


  May 15, 2021           Initial Requests for
                         Production and
                         Interrogatories Submitted

  July 15, 2021          Any depositions noticed

  September 15, 2021 End of Discovery

  November 15, 2021      Deadline for the filing of
                         Summary Judgment
                         Motions




                                                      Respectfully submitted,


COGHLIN ELECTRICAL                                    PLAINTIFFS
CONTRACTORS, INC.
                                                      By their attorney,
By its attorney,

/s/ Elise M. Kuehn                                    ___/s/ Colby J. Jackson____________
John J. McNamara                                      Thomas R. Landry (BBO #625004)
BBO No. 557882                                        Colby J. Jackson (BBO #696825)
Elise M. Kuehn                                        KRAKOW, SOURIS, and LANDRY LLC
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ekuehn@lanemcnamara.com

Dated: March 24, 2021                                 Dated: March 24, 2021
                            LOCAL RULE 16.4 CERTIFICATION

         I certify that I have conferred with counsel regarding establishing a budget for the costs
of conducting this litigation and various alternative courses, and to consider the resolution of the
litigation through the use of alternative dispute resolution programs.


       _/s/ Daniel D’Alma______
       Business Manager, IBEW Local 7

       _March 24, 2021________
       Date


         I certify that I have conferred with my client regarding establishing a budget for the costs
of conducting this litigation and various alternative courses, and to consider the resolution of the
litigation through the use of alternative dispute resolution programs.


       _/s/ Colby J. Jackson_____
       Counsel for Plaintiffs

       _March 24, 2021________
       Date

                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing has been filed through the ECF system and will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent by first class mail, postage prepaid, to those indicated as non-
registered NEF participants on this 24th day of March, 2021.
